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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MELISSA KAYE,


                                            PLAINTIFF,

                                -against-

NEW YORK CITY HEALTH AND HOSPITALS CORPORATION;
ELIZABETH FORD;
ABHISHEK JAIN;
JONATHAN WANGEL; and
PATRICIA YANG (as aiders and abettors)



                                            DEFENDANTS.



                MEMORANDUM OF LAW IN OPPOSITION OF DEFENDANTS’
                       MOTION FOR SUMMARY JUDGMENT
                         (Request for Oral Argument)



         Duly Submitted by:                      Special Hagan, Esq.
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